Case 1:05-cv-00377-WDM-BNB Document 215 Filed 07/18/07 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

                                   JUDGE WALKER D. MILLER

                                    COURTROOM MINUTES


   Courtroom Deputy: Kathy Preuitt-Parks          Date: July 18, 2007
   Court Reporter: Janet Coppock                  Time: 5 hours and 23 minutes



   CASE NO. 05-cv-00377-WDM-BNB

   Parties                                        Counsel

   MOISES CARRANZA-REYES,                         William Trine
                                                  Joseph Archuleta
                      Plaintiff,                  Cheryl Trine

   vs.

   PARK COUNTY BOARD OF COUNTY                    Josh Marks
   OF COMMISSIONERS, et al,                       Andrew Ringel


                      Defendants.




                               RULE 702 MOTIONS HEARING


   9:08 a.m.   COURT IN SESSION

   APPEARANCES OF COUNSEL.

   Discussion regarding how this hearing should proceed.

   9:13 a.m.   Direct examination of plaintiff’s witness Dr. Robert Greifinger by Mr. Trine.
Case 1:05-cv-00377-WDM-BNB Document 215 Filed 07/18/07 USDC Colorado Page 2 of 3




   Page Two
   05-cv-00377-WDM-BNB
   July 18, 2007

   9:37 a.m.    Cross examination by Mr. Ringel.

   9:53 a.m.    Redirect examination by Mr. Trine.

   9:58 a.m.    Questions to the witness by the Court.

   10:01 a.m.   Further redirect examination by Mr. Trine.

   Court exhibits 1, 2 and 3 identified and ADMITTED for purposes of these proceedings.

   Witness excused.

   10:04 a.m.   Direct examination of plaintiff’s witness Helen Woodard by Mr. Trine.

   10:40 a.m.   Cross examination by Mr. Ringel.

   11:05 a.m.   COURT IN RECESS

   11:18 a.m.   COURT IN SESSION

                Cross examination by Mr. Ringel continues.

   11:28 a.m.   Redirect examination by Mr. Trine.

   Witness excused.

   11:32 a.m.   Direct examination of plaintiff’s witness Catherine Knox by Mr. Trine.

   12:00 p.m.   COURT IN RECESS

   1:39 p.m.    COURT IN SESSION

                Direct examination by Mr. Trine continues.

   1:48 p.m.    Cross examination by Mr. Marks.

   2:12 p.m.    Redirect examination by Mr. Trine.
Case 1:05-cv-00377-WDM-BNB Document 215 Filed 07/18/07 USDC Colorado Page 3 of 3




   Page Three
   05-cv-00377-WDM-BNB
   July 18, 2007

   Witness excused.

   2:18 p.m.    Direct examination by plaintiff’s witness Michael Niederman by Mr. Trine.

   2:41 p.m.    Cross examination by Mr. Ringel.

   3:04 p.m.    Redirect examination by Mr. Trine.

   Witness excused.

   Court exhibit 4 identified and ADMITTED for purposes of these proceedings.

   3:06 p.m.    COURT IN RECESS

   3:28 p.m.    COURT IN SESSION

                Direct examination of plaintiff’s witness Patricia Pacey by Mr. Trine.

   4:05 p.m.    Cross examination by Mr. Ringel.

   4:37 p.m.    Redirect examination by Mr. Trine.

   4:39 p.m.    Questions to the witness by the Court.

   4:41 p.m.    Further cross examination by Mr. Ringel.

   Witness excused.

   ORDERED: Motions are submitted and under advisement.

   ORDERED: Counsel directed to chambers to schedule a status conference in
            September, 2007.

   4:45 p.m.    COURT IN RECESS

   Total in court time:       323 minutes

   Hearing concluded
